         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 1 of 15



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


                Jonathan Corbett                          Case No. 1:22-CV-5867(LGS)(SDA)
                                        Plaintiff

                        v.                                MOTION FOR PRELIMINARY
                                                          INJUNCTION WITH
  Kathleen Hochul, in her official capacity as            INCORPORATED MEMORANDUM
   chief executive of the State of New York,
                                     Defendant



   I.      Introduction

        There is no doubt that gun crime is a serious problem that must be addressed in this state

and elsewhere in America. There is also no longer any doubt that the Second Amendment to the

U.S. Constitution provides an individual right to bear arms, unconnected to membership in a

“militia,” that is enforceable against the states, applies outside of the home, and may not be denied

to the ordinary, law-abiding citizen. New York State Rifle & Pistol Association, Inc. v. Bruen, 597

U.S. ___ (2022). In creating and enforcing the law, these two realities both require substantial

consideration by our legislature and executive. There exist common-sense policy options to keep

guns out of the hands of people who will use them for crime without infringing on the rights of the

ordinary citizen to bear arms, and Plaintiff, like most Americans, prays that our legislators

implement these common-sense options.


        However, requiring license applicants to present all of their online musings for government

review is simply not one of them. Law-abiding citizens will be forced to relinquish their right to

anonymous speech and Internet privacy, while the next mass shooter simply lies on the application

and omits any incriminating social media accounts. Diligent investigators, of course, may find

incriminating social media anyway, but they could do the same just as well without this law. In

                                                    -1-
         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 2 of 15



other words, the law only serves to punish law-abiding citizens who will be honest on their

applications, with no benefit to public safety.


       This appears to actually be the point of the law: anything to keep fewer guns in the hands

of the ordinary citizen is the explicit objective of Gov. Hochul’s office and the state legislators of

her party. But this is exactly what the U.S. Supreme Court just declared that states – and New

York in particular – may not do. Because there is no legitimate government interest being served

here, let alone tailoring towards that interest, the social media requirement is unconstitutional

under the First Amendment. It is also unconstitutional under the Second Amendment, where, post-

Bruen, the question is whether “the regulation is consistent with this Nation’s historical tradition

of firearm regulation.” Bruen at *8. A requirement to allow the government to sift through one’s

communications before granting a license has never been a part of that tradition.


       The other two facets of the law challenged in this case – the references requirement and

the training requirement – are similarly designed to disenfranchise, and will actually effect a

disenfranchisement of, the ordinary citizen, and they, too, have no roots in American tradition and

thus run afoul of the Second Amendment.


       Plaintiff asks the Court for interim relief. The U.S. Supreme Court has set the status quo

with Bruen. New York has modified it by passing the challenged law, which substantially takes

effect in September. The Court should preliminarily enjoin this modification unless and until New

York can demonstrate that their new law meets the exacting requirements set by the Supreme Court

– a hurdle which, especially given the Governor’s candid admissions, is unlikely to ever be met.




                                                  -2-
          Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 3 of 15



   II.      Standard of Review

         “A party seeking to stay government action taken in the public interest pursuant to a

statutory or regulatory scheme must establish (1) a likelihood of success on the merits, and (2)

irreparable harm in the absence of an injunction.” Evergreen Ass’n, Inc. v. City of N.Y., 740 F.3d

233, 245 (2nd Cir. 2014) (cleaned up). In general, violations of fundamental constitutional rights

causing more than mere economic injury automatically constitute irreparable harm. See, e.g., We

The Patriots U.S., Inc. v. Hochul, 17 F.4th 266, 294 (2nd Cir. 2021) (“a presumption of irreparable

injury flows from a violation of constitutional rights,” internal citation omitted); Mitchell v.

Cuomo, 748 F.2d 804, 806 (2nd Cir. 1984) ("When an alleged deprivation of a constitutional right

is involved, most courts hold that no further showing of irreparable injury is necessary,” internal

quotation marks omitted). Put simply, infringements on liberty cannot merely be repaid, and are

thus irreparable. In such an instance, “whether plaintiffs have satisfied the requirements for a

preliminary injunction turns on whether they have shown a likelihood of success on the merits of

their claim…” Latino Officers Ass’n, N.Y. v. City of N.Y., 196 F.3d 458, 462 (2d Cir. 1999); but

see Agudath Isr. of Am. v. Cuomo, 983 F.3d 620 (2nd Cir. 2020) (also considering public interest).


         Whether Corbett is likely to prevail on his challenged that New York’s gun laws are

constitutional requires the Court to interpret Bruen for the first time. “[W]hen the Second

Amendment’s plain text covers an individual’s conduct, the Constitution presumptively protects

that conduct. To justify its regulation, the government may not simply posit that the regulation

promotes an important interest. Rather, the government must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation. Only if a firearm regulation

is consistent with this Nation’s historical tradition may a court conclude that the individual’s

conduct falls outside the Second Amendment’s unqualified command.” Bruen at *8 (cleaned up).


                                                 -3-
            Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 4 of 15



Although a modern “analog” of a historical regulation may survive scrutiny, “whether modern and

historical regulations impose a comparable burden on the right of armed self-defense and whether

that burden is comparably justified are central considerations when engaging in an analogical

inquiry.” Bruen at *20 (cleaned up). The burden of proof is on the government. Bruen at *10

(“the government must affirmatively prove that its firearms regulation is part of the historical

tradition”).


           Finally, whether Corbett is likely to prevail on his First Amendment claim regarding the

social media rule depends on whether the rule is adequately tailored to the governmental interest.

A discussion on the appropriate level of scrutiny follows infra.




    III.       Statement of Facts

           On or about April 14th, 2022, Plaintiff Jonathan Corbett applied for a gun license with the

New York City Police Department (“NYPD”). Ex. A., Corbett Aff., ¶ 3. Corbett maintains a

residence and a business located in Brooklyn, and nowhere else within the State of New York, and

thus the NYPD is the appropriate – and only – agency empowered by law to accept such an

application and grant such a license to him1. Id., ¶ 2.




1
  This is actually Corbett’s second application for a gun license with the NYPD. Corbett applied
for the same in 2016 and was rejected on the grounds of failing to demonstrate “proper cause.”
Corbett challenged the constitutionality of the proper cause requirement in state court, which
upheld the proper cause requirement based on the Second Circuit’s decision in Kachalsky and was
affirmed by the First Department. Corbett v. City of N.Y., 73 N.Y.S.3d 568 (N.Y. App. Div. 2018)
(citing Kachalsky v. County of Westchester, 701 F.3d 81 (2nd Cir. 2012)). The New York Court of
Appeals declined to hear the case. Corbett v. City of N.Y., 2018 N.Y. Slip Op. 76160 (N.Y. 2018).
Corbett then asked this Court to review, but this Court held that the procedural posture of the state
proceedings had a claim preclusive effect, and the Second Circuit affirmed. Corbett v. City of New
York, No. 19-2152 (2nd Cir., June 4th, 2020).
                                                  -4-
         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 5 of 15



       Corbett was asked to appear in-person at NYPD headquarters to complete fingerprinting,

and did so on May 6th, 2022. Id., ¶ 4. During this time, Corbett was advised that his application

would likely take about 9 months from that date to be assigned to an investigator. Id., ¶ 6. Corbett

has received no update regarding his application status since, and, upon belief, the application has

not yet been assigned to an investigator. Id., ¶ 7.


       After Corbett’s fingerprinting, but, upon belief, before the assignment of his application to

an investigator, several changes were made to the legal background. First, the U.S. Supreme Court

overturned New York’s “proper cause” requirement. Bruen (July 23rd, 2022). In response,

Governor publicly deemed the Bruen holding as “outrageous2,” “reckless3,” “reprehensible4,”

“horrific5,” and “appalling6” on her official Twitter account and made similar statements to the

media. She then called an extraordinary session of the state legislature for the purpose of passing

new laws restricting gun rights7. The result of this session was a bill numbered S51001, which

was passed and signed into law on July 1st, 2022, and contains the provisions that are the basis for

this challenge.




2
  https://twitter.com/GovKathyHochul/status/1539983179641229313
3
  https://twitter.com/GovKathyHochul/status/1540802617902866433
4
  https://twitter.com/GovKathyHochul/status/1540161345915600896
5
  https://twitter.com/GovKathyHochul/status/1541874003085824000
6
  https://twitter.com/GovKathyHochul/status/1540832953688809473
7
      https://www.governor.ny.gov/news/governor-hochul-announces-extraordinary-session-new-
york-state-legislature-begin-june-30
                                                 -5-
          Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 6 of 15



   IV.      Argument

   A. None of the Three Challenged Rules Are Consistent with This Nation’s Historical Tradition

         of Firearm Regulation


         In Bruen, the Supreme Court eschewed any use of means-end scrutiny for Second

Amendment claims. Instead, once it is established that a government regulation is covered by “the

Second Amendment’s plain text,” then “the government must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation.” Bruen at *8. A reviewing

court should pay particular attention to the historical tradition at the time the right was adopted.

Id. at *25, 26. In the case of gun rights, this means we are speaking of “[t]he Second Amendment

… adopted in 1791 [and] the Fourteenth in 1868.” Id; see also *29 (declining to decide if context

at ratification of Second or at ratification Fourteenth Amendment is controlling). And, the Bruen

court left no doubt that state licensing requirements for those seeking to keep and bear arms are

covered by the plain text of the Second Amendment. Id. at *23.


         The Court can likely take judicial notice that neither the founding fathers nor President

Johnson and the 40th United States Congress intended that the gun rights they were writing into

the Constitution were contingent upon a review of anyone’s social media, which came into

existence in the 1990s and became popularized in the decade that followed. The inquiry does not

end there, however, because the existence of a historical “analog” can be sufficient to demonstrate

consistence with historical tradition. “[A]nalogical reasoning requires only that the government

identify a well-established and representative historical analogue, not a historical twin.” Id. at *21

(emphasis in original).


         Here, however, the inquiry does end before much more ink need be spilled: no matter

whether you analogize social media to letters, newspaper articles, speeches in the public square,
                                                 -6-
           Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 7 of 15



or whatever other traditional media or social platforms one may conjure, a review of one’s speech

has never been a prerequisite to obtaining permission to keep and bear arms, nor had training or

references requirements been a part of, or analogous to, any scheme in use in this country in the

1700s or 1800s. Bruen explores the most common historical firearm restrictions and starts by

dividing them into “restrictions governing the intent for which one could carry arms, the manner

of carry, or the exceptional circumstances under which one could not carry.” Id. at *29. None of

these categories bear any relation to the social media restriction, the references requirement, or the

training requirement. And, should the government wish to try an analogize a past restriction to

those challenged here, the burden is on them to do so, not on Plaintiff to disprove a negative. Bruen

at *10.




   B. The Social Media and References Requirement Require Impermissible Exercise of

          Judgment by Licensing Officials


          The Bruen court also generally discusses licensing schemes, noting that those that contain

“narrow, objective, and definite standards” to ensure that only law-abiding, responsible citizens

may be armed are likely constitutional, while those “requiring the appraisal of facts, the exercise

of judgment, and the formation of an opinion” are not. Bruen at *30, fn. 8. The court does not

make clear how this blends with the historical analysis discussed supra, but the reading most

generous to the state is that a licensing requirement that is: 1) tailored only to excluding those who

are not law-abiding or responsible, and 2) identifies narrow, objective, and definite standards to be

used, is permissible notwithstanding any historical context.




                                                 -7-
         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 8 of 15



       Even adopting the view, arguendo, that narrowly tailored licensing rules meeting these

criteria bypass the historical review, the social media requirement appears to be the exact opposite

of what the Supreme Court had in mind. The law sets no objective standard for determining if an

applicant’s social media is acceptable or disqualifying (nor what to make of an applicant who does

not use social media). Licensing officials within the state have already expressed consternation at

the same8. The licensing official is thus given complete discretion to appraise the facts, exercise

judgment, and form an opinion as to whether the applicant will possess arms responsibly. In

contrast to a requirement that one not be a felon, or that one not be addicted to drugs, or even that

one complete (reasonable) training programs, which can be accomplished objectively, it is clear

that this rule goes the wrong way, and is far closer to a discretionary “proper cause” review (and

thereby susceptible to the same abuse that lead New York to license the rich and connected and

scorn the commoners for over 100 years) than a ministerial checking-of-the-boxes.


       The references requirement works similarly. At the outset, the obvious should be stated:

the provision of references is not merely such that licensing officials check off a box that says

“supplied references,” but rather for the purpose of allowing the licensing officer to speak to the

references and, once again, appraise facts, exercise judgment, and form an opinion9. They also

require the person writing the reference letter to do the same, essentially as an agent for the

licensing officer. This impermissibly rests a person’s constitutional rights upon the whims of

others: we subject no other constitutional right to the approval of third parties and we should not


8
   See, e.g., New York State Sheriffs’ Association, “Statement Concerning New York's New
Firearm Licensing Laws,” https://nysheriffs.org/statement-concerning-new-yorks-new-firearms-
licensing-laws/ (July 6th, 2022) (lamenting “burdensome, costly, and unworkable nature of many
of the new laws’ provisions”).
9
  Even if a licensing officer has discretion to choose not to speak to any of the authors of reference
letters, they still must evaluate the face of the reference letter and use judgment as to whether it is
sufficiently effusive as to the character of the applicant to support the granting of a license.
                                                 -8-
         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 9 of 15



start with this one. Further, in a city such as New York where large segments of the population

disfavor gun rights, it says little about someone that they cannot find four individuals who wish to

help them get a gun10, and it further burdens an applicant to polarize his or her social circle by

seeking such references.




     C. The Training Requirement Denies Ordinary Citizens Their Right to Carry


        “[B]ecause any permitting scheme can be put toward abusive ends, we do not rule out

constitutional challenges to shall-issue regimes where, for example, lengthy wait times in

processing license applications11 or exorbitant fees deny ordinary citizens their right to public

carry.” Bruen at *30, fn. 8.


        Subsection 19 to § 400.00 requires an applicant to complete 18 hours of training: 16 hours

of “in-person live curriculum” and 2 hours of “live-fire range training.” The complaint estimates

that this section increases the total time required for Plaintiff to obtain a permit to 31-38 hours and

the total cost to $1,128.50. Complaint, ¶ 44. This does not count the cost of taking off of work to

complete multiple business-hours in-person trips to NYPD headquarters.




10
   It also says little about one who can muster up 4 references: surely every extremist group could
organize to vouch for its own members, and the text of the law does not even appear to prohibit
references-for-hire. Is having 4 people sitting in an office who agree to meet converse with an
applicant for 15 minutes, “get to know them,” and then write a letter in exchange for a few hundred
dollars the next big business idea for New York entrepreneurs? The undersigned hopes not.
11
   The nine months of processing time quoted to Corbett by the licensing officer he met during his
fingerprinting is, at best, on the outer edge of constitutionally permissible. Although this lawsuit
does not currently challenge the processing time, the government should be on notice that any
further delays would result in a motion for leave to amend the complaint or other appropriate
remedy.
                                                 -9-
        Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 10 of 15



       Also as discussed in the complaint, “[m]inimum wage in this state is now $15 and a

minimum wage earner in the Bronx working 40 hours per week, filing as single with no dependents

but themselves, will take home about 76% of their check after taxes. Using those numbers, this

minimum wage worker must work for 99 hours just to pay for a license. In other words, for this

worker to take the time to apply for, finish the training for, and work at their job to pay the

application fee for, a gun license in New York, it will take them up to 135 hours of their life, if

they are even allowed by their employer to take the time off from work necessary to complete the

process.” Complaint, ¶ 45 – 47.


       This is exactly the type of “exorbitant fees [that] deny ordinary citizens their right to carry”

of which the Bruen court forewarned. New York’s training requirement, when effective12, will be

the most onerous in the country13, and no court of which Plaintiff is aware has approved a 4-figure

licensing cost. The time and cost above will be prohibitive to many, if not most, ordinary citizens.

And its purpose is not merely to ensure “responsible” gun owners, as required by Bruen, as

evidenced by the topics of the coursework contemplated by the law. See § 400.00(1)(19) (topics

include “situational awareness,” “suicide prevention,” etc14.). As such, it is unconstitutional15.


12
   No training courses have yet been certified, and Plaintiff was able to find no expected availability
of the same before mid-2023.
13
   Plaintiff would be happy to catalog a list of requirements for each state should this be disputed.
14
   It is not alleged that these topics are not important. They are simply unrelated to ensuring that
a gun owner is responsible, as required by Bruen.
15
   Even with the inclusion of these superfluous topics, it is unclear how 16 hours of time will be
filled. Of the 11 topics enumerated in the law, three of them can take no more than 10 minutes
(“safe storage” and “sensitive places” rules are simple and can be explained and understood by lay
people in minutes, and one cannot imagine “best practices when encountering law enforcement”
to consist of anything more than disclosing the weapon, keeping hands visible, and following
orders). Two more seem to overlap each other almost entirely (“conflict de-escalation” and
“conflict management”). Another is a complete subset (“use of deadly force” a subset of “state
and federal gun laws”). We are therefore left with 15½ hours from the following list: general
firearm safety, state/federal gun laws, conflicts, suicide prevention, and marksmanship, along with
the 30 minutes or less required for safe storage, sensitive places, and law enforcement best
                                                 - 10 -
        Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 11 of 15



   D. The Social Media Requirement Violates the First Amendment


       The social media requirement independently violates the First Amendment of the U.S.

Constitution, as applied to the states through the Fourteenth Amendment, because “an author's

decision to remain anonymous, like other decisions concerning omissions or additions to the

content of a publication, is an aspect of the freedom of speech protected by the First Amendment.”

McIntyre v. Ohio Elections Comm'n, 514 U.S. 334, 342 (1995); Watchtower Bible Tract Society v.

Village, Stratton, 536 U.S. 150 (2002) (reaffirming McIntyre).           Statutes dispensing with

anonymous speech may also violate the free association clause of the First Amendment.

N.A.A.C.P. v. Alabama, 357 U.S. 449, 462 (1958) (“It is hardly a novel perception that compelled

disclosure of affiliation with groups engaged in advocacy may constitute as effective a restraint on

freedom of association…”).


       The breadth of the disclosure required by the social media requirement cannot be

overstated: other than direct, one-on-one communications like e-mail, virtually any environment

in which one may speak on the Internet can be considered social media. There is no exception for

political speech, religious speech, or any variety of advocacy. If one uses anonymous speech on

the Internet to support (or oppose) abortion rights (perhaps also disclosing one’s personal

experiences with the same), to declare that Israel (or Palestine) has a greater claim to the West

Bank (perhaps disclosing “disloyalty” to the family religion), to advocate for those with HIV

(perhaps disclosing infection), or to support (or oppose) reform of the agency charged with issuing

gun licenses, these people all must now “out” themselves to the licensing authority. One who sells

nude pictures of themselves on “Only Fans” would be required to show their nude body to the



practices. This is gratuitous. The legislature’s selection of 16 + 2 hours was arbitrary at best,
intentionally disenfranchising at worst.
                                               - 11 -
        Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 12 of 15



licensing authority, as would one who sought medical advice for their genital warts on Reddit, as

would the new mother seeking lactation advice in an Instagram group.


       In Plaintiff’s case, the licensing authority is the New York City Police Department. The

only limiting clause in the law is that the social media account has been used in the last 3 years,

which provides little help given that a single post in the last 3 years would require the disclosure

of an account that may have been sharing content for a decade a more. A requirement to share the

most intimate details of one’s life, intended to stay anonymous, in order to exercise another

constitutional right, is nothing short of outrageous.


       Applying even intermediate means-end scrutiny16, the social media requirement cannot

pass First Amendment muster. First, given the statements of Defendant and her appointees and

legislative counterparts, the “governmental objective” cannot be assumed to be in good faith. The

public statements by the Governor can be fairly construed to demonstrate intent to override the

decision of the U.S. Supreme Court and continue to disenfranchise “ordinary” New Yorkers. Gov.

Hochul is entitled to her opinion that the high court’s decision was as “outrageous,” “reckless,”

“reprehensible,” “horrific,” and “appalling,” but she cannot then go and force the legislature into

a room until they accomplish the same goal that the court just prohibited. The words of the Lt.

Governor – Hochul’s second-in-command – are even more clear when he said that the law was

intended to “not … let the Supreme Court reverse years of sensible gun regulations.17” In other



16
   The effect of the social media restriction is to burden many kinds of speech, including core
political and other highly-protected speech, and thus “exacting scrutiny” is likely appropriate.
McIntyre at 334, 335. Given that the law makes no effort to exclude such speech from review,
exacting or strict scrutiny should be applied, and Plaintiff discusses the test using intermediate
scrutiny not as a concession that this level is correct, but to avoid the question of the appropriate
level of scrutiny since the law does not pass even the lesser test.
17
   Office of Gov. Kathy Hochul, “Governor Hochul Signs Landmark Legislation to Strengthen
Gun Laws and Bolster Restrictions on Concealed Carry Weapons in Response to Reckless
                                                - 12 -
        Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 13 of 15



words, the government itself has announced that the intent of the state law is to reverse federal law

as laid down by the U.S. Supreme Court. This Court would be well-reasoned if it held that

intermediate scrutiny is not passed because there is no legitimate governmental objective: when

officials admit that their intent is to overrule the Supreme Court, the courts should take them at

their word.


       Notwithstanding and turning a blind eye to the explicit statements from the Governor and

her office by pretending that the governmental objective is merely to reduce injuries and deaths

caused by gun violence, this objective would without question be “important.”               But the

requirement then must also be tailored to that objective, and there is no evidence of any tailoring

whatsoever. There is no attempt to filter out irrelevant and highly sensitive material, such as the

Only Fans, medical research, or other deeply personal content described supra. There is no way

to apply for a variance to the rule. There is no standard set for how to use and evaluate the

information obtained from applicants.      As such, there is no attempt at tailoring by means of

excluding unnecessary burdens. Given that no one intent on using their gun for evil would disclose

a social media account containing evidence of the same, there is also little proximity between the

objective and the proposed solution. The burden here far outweighs any benefit, which, other than

disenfranchisement, is none.




Supreme Court Decision,” https://www.governor.ny.gov/news/governor-hochul-signs-landmark-
legislation-strengthen-gun-laws-and-bolster-restrictions (July 1st, 2022)
                                                - 13 -
         Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 14 of 15



     E. The Public Interest Favors Preliminary Injunction


        The public can have no interest in the continued enforcement of a law that violates their

constitutional rights. Plaintiff, like many in New York, has been waiting for years to exercise his

Second Amendment rights and has been rejected by both the licensing officials and courts on bases

that are now clearly erroneous in a post-Bruen world. It is time for those rights to be vindicated.


        The government will surely argue that, in light of the epidemic of gun violence, the Court

should err on the side of caution. However, Plaintiff is not asking that guns be handed out at Duane

Reade. The injunction requested is a stay of three new requirements that have never existed in any

state. In other words, the injunction requested maintains the status quo rather than creates a new

potential risk to the public. The requirements have not yet taken effect, meaning licenses are being

handed out right now without their application, and with nine-month processing times18, any

possible injury to the public is far away and can be addressed by a motion for modification if and

when the government fears that an injury is happening imminently.




18
  This processing time was quoted to Plaintiff before Bruen was announced. Post-Bruen, surely
applications are at their zenith and processing time of “only” nine months is now a day dream.
                                               - 14 -
        Case 1:22-cv-05867-LGS Document 11 Filed 08/22/22 Page 15 of 15



   V.      Conclusion

        It has been over 100 years since New Yorkers could fully exercise their rights to keep and

bear arms. The core issues having already been decided by the U.S. Supreme Court, and in the

face of laws that are so clearly beyond the standards set by that court, we should delay not a day

more.


        The Court should grant this motion and a preliminary injunction substantially similar to

the following should issue: “The enforcement of N.Y. Penal Law § 400.00(1)(o)(iv) (requiring

disclosure of social media accounts), N.Y. Penal Law § 400.00(1)(o)(ii) (requiring four

references), and N.Y. Penal Law § 400.00(19) (requiring pre-licensure or pre-renewal training) is

hereby enjoined, and Defendant Kathleen Hochul is hereby ordered to direct the employees,

officers, and agents of the State of New York to cease enforcement of these provisions and to

continue processing applications for gun licenses as if these sections were not present, until further

order of the Court.”




Dated: New York, NY                                      Respectfully submitted,

        August 22nd, 2022
                                                         _________/s/Jonathan Corbett_________
                                                         Jonathan Corbett, Esq.
                                                         Plaintiff (attorney proceeding pro se)
                                                         CA Bar #325608
                                                         958 N. Western Ave. #765
                                                         Hollywood, CA 90029
                                                         E-mail: jon@corbettrights.com
                                                         Phone: (310) 684-3870
                                                         FAX: (310) 684-3870



                                                - 15 -
